

People v Joshua L. (2023 NY Slip Op 03312)





People v Joshua L.


2023 NY Slip Op 03312


Decided on June 20, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 20, 2023

Before: Webber, J.P., Oing, Gesmer, González, Pitt-Burke, JJ. 


Ind No. 1214/17 Appeal No. 505 Case No. 2018-03208 

[*1]The People of the State of New York, Respondent,
vJoshua L., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Kristina Schwarz of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kalani A. Browne of counsel), for respondent.



Judgment of the Supreme Court, Bronx County (George Villegas, J.), rendered February 13, 2018, convicting defendant, upon his plea of guilty, of robbery in the first degree, adjudicating him a youthful offender, and sentencing him to a term of 1&amp;frac13; to 3 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees
imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note the People's consent. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 20, 2023








